          Case 1:23-cv-10037-AS Document 23 Filed 05/24/24 Page 1 of 1




                          150 E. 18 St., Suite PHR, New York, NY 10003
                              212 228-9795 www.gottlieblaw.net
                                                                                      May 24, 2024
VIA ECF
The Honorable Arun Subramanian
United States District Judge
United States District Court
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

                      Re:     Young v. The Benedict College,
                              Case No.: 1:23-cv-10037
Dear Judge Subramanian,

        The undersigned represents Leshawn Young (“Plaintiff”) in the above referenced matter
against Defendant, The Benedict College, (“Defendant”) (collectively the “Parties”). We write,
with Defendant’s consent, to inform the Court that the Parties have reached a settlement in
principle and respectfully request that Your Honor dismiss this action with prejudice with the
right to reopen in forty-five (45) days if the Settlement Agreement is not consummated. In light
of the anticipated settlement, the undersigned respectfully requests all currently pending
deadlines in this action be adjourned sine die.

       We thank the Court for its time and attention in this matter.

                                                                            Respectfully submitted,
                                                                         /s/Michael A. LaBollita, Esq.
                                                                            Michael A. LaBollita, Esq.



cc: All counsel of record via ECF
